                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 1 of 26 Page ID #:75



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                                                                                     8
                                                                                                               UNITED STATES DISTRICT COURT
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                                                                                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                    10
                                                                                                            FIRST STREET FEDERAL COURTHOUSE
                 A limited liability partnership formed in the State of Delaware




                                                                                    11
                                                                                         Namdy Consulting, Inc.,                Case No.: 2:18-cv-1283 RSWL (KSx)
                                                                                    12
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                                                                                                          Plaintiff,            MEMORANDUM OF POINTS AND
                                                                                    13                                          AUTHORITIES IN SUPPORT OF
                                                                                               vs.                              DEFENDANT
                                                                                    14                                          UNITEDHEALTHCARE
                                                                                         UnitedHealthcare Insurance Company and INSURANCE COMPANY’S
                                                                                    15   DOES 1-20.                             MOTION TO DISMISS
                                                                                                                                PLAINTIFF’S COMPLAINT
                                                                                    16                     Defendants.
                                                                                                                                Hearing Date: May 1, 2018
                                                                                    17                                          Time:         10:00 a.m.
                                                                                                                                Courtroom:    TBD
                                                                                    18
                                                                                                                                Compl. Filed:    November 30, 2017
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                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 2 of 26 Page ID #:76



                                                                                     1                                             TABLE OF CONTENTS
                                                                                     2
                                                                                                                                                                                                                  Page
                                                                                     3
                                                                                         I.      INTRODUCTION ................................................................................................ 1 
                                                                                     4
                                                                                         II.     FACTUAL BACKGROUND .............................................................................. 3 
                                                                                     5
                                                                                         III.    LEGAL STANDARD .......................................................................................... 4 
                                                                                     6
                                                                                         IV.     LEGAL ARGUMENT ......................................................................................... 4 
                                                                                     7
                                                                                                 A.      NAMDY’s Claims Should Be Dismissed Because NAMDY
                                                                                     8                   Has Not Sufficiently Alleged A Valid Assignment Of Any
                                                                                                         Claims......................................................................................................... 4 
                                                                                     9
                                                                                                 B.      NAMDY’s Complaint Fails Because It Does Not Identify Any
                                                                                    10                   Specific Medical Claim At Issue. .............................................................. 6 
                 A limited liability partnership formed in the State of Delaware




                                                                                    11           C.      NAMDY’s Claims for Recovery of Payment for Services
                                                                                                         Rendered And Quantum Meruit Fail Because NAMDY Has
                                                                                    12                   Not Alleged That UHIC Made Any Specific Request For
                                                                                                         Services or Benefitted From the Services .................................................. 8 
REED SMITH LLP




                                                                                    13
                                                                                                 D.      NAMDY’s Open Book Account Claim Fails Because
                                                                                    14                   NAMDY Has Not Sufficiently Pled A Mutual Agreement or
                                                                                                         Indebtedness of a Sum Certain................................................................. 10 
                                                                                    15
                                                                                                 E.      NAMDY’s Claim for Breach of Implied Contract Fails ......................... 11 
                                                                                    16
                                                                                                 F.      NAMDY’s Claim for Declaratory Relief Fails Because It Is
                                                                                    17                   Not An Independent Cause Of Action And It Is Duplicative Of
                                                                                                         NAMDY’s Other Claims ......................................................................... 14 
                                                                                    18
                                                                                                 G.      NAMDY’s Interference Claim Fails Because UHIC Is Not A
                                                                                    19                   Stranger To The Economic Relationship Between the
                                                                                                         Physicians And Their Patients And NAMDY Has Not
                                                                                    20                   Sufficiently Pled Facts to Satisfy Each Element of This Claim .............. 15 

                                                                                    21 V.        CONCLUSION .................................................................................................. 19 

                                                                                    22

                                                                                    23

                                                                                    24

                                                                                    25

                                                                                    26

                                                                                    27

                                                                                    28

                                                                                                                                                     -i-
                                                                                                       DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                                 AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 3 of 26 Page ID #:77



                                                                                     1                                            TABLE OF AUTHORITIES
                                                                                     2
                                                                                                                                                                                                                 Page(s)
                                                                                     3
                                                                                         Cases
                                                                                     4
                                                                                         Applied Equipment Corp., v. Litton Saudi Arabia Ltd.,
                                                                                     5
                                                                                           7 Cal. 4th 503 (1994) ......................................................................................... 15, 16
                                                                                     6
                                                                                         Ashcroft v. Iqbal,
                                                                                     7      556 U.S. 662 (2009)................................................................................................... 4
                                                                                     8
                                                                                       Banner Entertainment, Inc. v. Super. Ct.,
                                                                                     9   62 Cal. App. 4th 348 (1998) .................................................................................... 11
                                                                                    10 Barlow Respiratory Hospital v. Cigna Health & Life Insurance
                 A limited liability partnership formed in the State of Delaware




                                                                                    11       Company,
                                                                                             No. 2:15-CV-08411-RGK-PLA, 2016 WL 7626446 (C.D. Cal. Sept.
                                                                                    12       30, 2016) .................................................................................................................... 8
REED SMITH LLP




                                                                                    13
                                                                                       Bell Atlantic Corp. v. Twombly,
                                                                                    14    550 U.S. 544 (2007)................................................................................................... 4
                                                                                    15 Bustamante v. Intuit, Inc.,

                                                                                    16       141 Cal. App. 4th 199 (2006) ............................................................................ 11, 13

                                                                                    17 Cal. Lettuce Growers v. Union Sugar Co.,
                                                                                             45 Cal. 2d 474 (1955) .............................................................................................. 13
                                                                                    18

                                                                                    19 California Medical Ass’n. v. Aetna U.S. Healthcare of California, Inc.,
                                                                                             94 Cal App. 4th 151 (2001) ....................................................................................... 9
                                                                                    20
                                                                                       Casa Bella Recovery International, Inc. v. Human Inc.,
                                                                                    21
                                                                                         SACV 17-01801 AG (JDEx); SACV 17-01804 AG (JDEx); SACV
                                                                                    22   17-01807 AG (JDEx), 2017 WL 6030260 (C.D. Cal. Nov. 27, 2017) ..................... 7
                                                                                    23 Cedars Sinai Med. Ctr. v. Mid-West Nat. Life. Ins. Co.,

                                                                                    24       118 F. Supp. 2d 1002 (C.D. Cal. 2000) ................................................................... 12
                                                                                    25 City of Cotati v. Cashman,
                                                                                             29 Cal. 4th 69 (2002) ............................................................................................... 14
                                                                                    26

                                                                                    27 Cockerell v. Title Ins. & Trust Co.,
                                                                                             42 Cal. 2d 284 (1954) ................................................................................................ 5
                                                                                    28

                                                                                                                                                       - ii -
                                                                                                       DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                                 AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 4 of 26 Page ID #:78



                                                                                     1 Community Hospital of the Monterey Peninsula v. Aetna Life Insurance

                                                                                     2       Company,
                                                                                             119 F. Supp. 3d 1042 (N.D. Cal. 2015) ..................................................................... 8
                                                                                     3
                                                                                         Compass Bank v. Petersen,
                                                                                     4
                                                                                           886 F. Supp. 2d 1186 (C.D. Cal. 2012) ................................................................... 14
                                                                                     5
                                                                                         Crown Imps., LLC v. Superior Court,
                                                                                     6     223 Cal. App. 4th 1395 (2014) ................................................................................ 16
                                                                                     7
                                                                                       Day v. Alta Bates Med. Ctr.,
                                                                                     8   98 Cal. App. 4th 243 (2002) ...................................................................................... 8
                                                                                     9 DC3 Entertainment, LLC v. John Galt Entertainment, Inc.,

                                                                                    10       412 F. Supp. 2d 1125 (W.D. Wash. 2006) ................................................................ 5
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 Della Penna v. Toyota Motor Sales U.S.A., Inc.,
                                                                                             11 Cal. 4th 376 (1995) ....................................................................................... 15, 16
                                                                                    12
REED SMITH LLP




                                                                                    13 Dreyer’s Grand Ice Cream v. Ice Cream Distributors of Evansville, LLC,
                                                                                             No. 10-00317 CW, 2010 WL 1957423 (N.D. Cal. May 14, 2010) ......................... 10
                                                                                    14
                                                                                         Grant v. Aurora Loan Servs., Inc.,
                                                                                    15
                                                                                           736 F. Supp. 2d 1257 (C.D. Cal. 2010) ................................................................... 13
                                                                                    16
                                                                                         Guilbert v. Regents of University of California,
                                                                                    17     93 Cal. App. 3d 233 (1979) ..................................................................................... 14
                                                                                    18
                                                                                       H. Russell Taylor’s Fire Prevention Serv., Inc. v. Coca Cola Bottling
                                                                                    19    Corp.,
                                                                                          99 Cal. App. 3d 711 ( 1979) .................................................................................... 10
                                                                                    20

                                                                                    21 Halvorsen v. Aramark Unif. Servs.,
                                                                                             65 Cal. App. 4th 1383 (1998) .................................................................................. 11
                                                                                    22
                                                                                         Heritage Pacific Financial, LLC v. Monroy,
                                                                                    23
                                                                                           215 Cal. App. 4th 972 (2013) .................................................................................... 5
                                                                                    24
                                                                                         Hood v. Superior Court,
                                                                                    25     33 Cal. App. 4th 319 (1995) .................................................................................... 14
                                                                                    26
                                                                                       Imperial Ice v. Rossier,
                                                                                    27   18 Cal. 2d 33 (1941) ................................................................................................ 15
                                                                                    28

                                                                                                                                                  - iii -
                                                                                                      DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                                AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 5 of 26 Page ID #:79



                                                                                     1 Jasmine Networks, Inc. v. Superior Court,

                                                                                     2       180 Cal. App. 4th 980 (2009) .................................................................................... 5

                                                                                     3 Korea Supply Co. v. Lockheed Martin Corp.,
                                                                                             29 Cal. 4th 1134 (2003) ........................................................................................... 18
                                                                                     4

                                                                                     5 Krasley v. Superior Court of San Diego County,
                                                                                             101 Cal. App. 3d 425 (1980) ................................................................................... 13
                                                                                     6
                                                                                         Lawrence Block Co. v. Palston,
                                                                                     7
                                                                                           123 Cal. App. 2d 300 (1954) ................................................................................... 13
                                                                                     8
                                                                                         Levin v. Knight,
                                                                                     9      780 F.2d 786 (9th Cir. 1986) ................................................................................... 13
                                                                                    10
                                                                                       Lindsay v. Lewandowski,
                 A limited liability partnership formed in the State of Delaware




                                                                                    11    139 Cal. App. 4th 1618 (2006) ................................................................................ 13
                                                                                    12 Maggio, Inc. v. Neal,
REED SMITH LLP




                                                                                    13       196 Cal. App. 3d 745 (1987) ................................................................................... 10

                                                                                    14 McHenry v. Renne,
                                                                                             84 F.3d 1172 (9th Cir. 1996) ..................................................................................... 7
                                                                                    15

                                                                                    16 Mintz v. Blue Cross of California,
                                                                                             172 Cal. App. 4th 1594 (2009) .......................................................................... 16, 17
                                                                                    17
                                                                                         Mission Valley East, Inc. v. County of Kern,
                                                                                    18
                                                                                           120 Cal. App. 3d 89 (1981) ....................................................................................... 5
                                                                                    19
                                                                                         Money Store Inv. Corp. v. S. California Bank,
                                                                                    20     98 Cal. App. 4th 722 (2002) .................................................................................... 13
                                                                                    21
                                                                                       Nat’l Rural Telcoms. Coop. v. DIRECTV, Inc.,
                                                                                    22   319 F. Supp. 2d 1059 (2002) ................................................................................... 16
                                                                                    23 Neptune Society Corp. v. Longanecker,

                                                                                    24       194 Cal. App. 3d 1233 (1987) ................................................................................... 5
                                                                                    25 Nieto v. Blue Shield of California Life & Health Insurance Co.,
                                                                                             181 Cal. App. 4th 60 (2010) ...................................................................................... 9
                                                                                    26

                                                                                    27 Ochs v. PacifiCare of California,
                                                                                             115 Cal. App. 4th 782 (2004) .................................................................................... 8
                                                                                    28

                                                                                                                                                  - iv -
                                                                                                      DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                                AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 6 of 26 Page ID #:80



                                                                                     1 Orthopedic Specialists of S. Cal. v. Cal. Pub. Emps. Ret. Sys.,

                                                                                     2        228 Cal. App. 4th 644 (2014) .................................................................................. 12

                                                                                     3 Pac. Gas & Elec. Co. v. Bear Stearns & Co.,
                                                                                              50 Cal. 3d 1118 (1990) ............................................................................................ 15
                                                                                     4

                                                                                     5 Ratcliff Architects v. Vanir Constr. Mgmt., Inc.,
                                                                                              88 Cal. App. 4th 595 (2001) .................................................................................... 14
                                                                                     6
                                                                                         Rickards v. Canine Eye Registration Foundation, Inc.,
                                                                                     7
                                                                                            704 F.2d 1149 (9th Cir. 1983) ................................................................................. 15
                                                                                     8
                                                                                         San Jose Contr., Inc. v. S.B.C.C., Inc.,
                                                                                     9      155 Cal. App. 4th 1528 (2007) ................................................................................ 16
                                                                                    10
                                                                                       Schauer v. Mandarin Gems of Cal., Inc.,
                 A limited liability partnership formed in the State of Delaware




                                                                                    11    125 Cal. App. 4th 949 (2005) .................................................................................... 5
                                                                                    12 Signal Hill Service, Inc. v. Macquarie Bank Ltd.,
REED SMITH LLP




                                                                                    13        No. CV 11-1539 MMM, 2013 WL 12244056 (C.D. Cal. June 12,
                                                                                              2013) ........................................................................................................................ 15
                                                                                    14
                                                                                         Silicon Labs Integration, Inc. v. Melman,
                                                                                    15
                                                                                             No. C-08-04030-RMW, 2010 WL 890140 (N.D. Cal. March 8, 2010).................. 15
                                                                                    16
                                                                                         Sprewell v. Golden State Warriors,
                                                                                    17      266 F.3d 979 (9th Cir. 2001) ..................................................................................... 4
                                                                                    18
                                                                                       Stanford Hosp. and Clinics v. Multinational Underwriters, Inc.,
                                                                                    19    No. C-07-05497 JF (RS), 2008 WL 5221071 (N.D. Cal. Dec. 12,
                                                                                          2008) ........................................................................................................................ 12
                                                                                    20

                                                                                    21 Stewart v. Preston Pipeline Inc.,
                                                                                              134 Cal. App. 4th 1565 (2005) ................................................................................ 11
                                                                                    22
                                                                                         Tenet Healthsystem Desert, Inc. v. Fortis Ins. Co., Inc.,
                                                                                    23
                                                                                            520 F. Supp. 2d 1184 (C.D. Cal. 2007) ................................................................... 12
                                                                                    24
                                                                                         Tsemetzin v. Coast Fed. Savs. & Loan Ass’n.,
                                                                                    25      57 Cal. App. 4th 1334 (1997) .................................................................................. 10
                                                                                    26
                                                                                       Wall St. Network, Ltd. v. New York Times Co.,
                                                                                    27   164 Cal. App. 4th 1171 (2008) ................................................................................ 11
                                                                                    28

                                                                                                                                                         -v-
                                                                                                       DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                                 AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 7 of 26 Page ID #:81



                                                                                     1 Weddington Prods., Inc. v. Flick,

                                                                                     2       60 Cal. App. 4th 793 (1998) .................................................................................... 12

                                                                                     3 Williams v. Galloway,
                                                                                             211 Cal. App. 2d 302 (1962) ..................................................................................... 5
                                                                                     4

                                                                                     5 Yari v. Producers Guild of Am., Inc.,
                                                                                             161 Cal. App. 4th 172 (2008) .................................................................................. 11
                                                                                     6
                                                                                       YDM Management Co., Inc. v. Aetna Life Insurance Company,
                                                                                     7
                                                                                         No. CV 15-00897 DDP (Ex), 2016 WL 1254162 (C.D. Cal. March 28,
                                                                                     8   2016) ...................................................................................................................... 5, 6
                                                                                     9 Statutes

                                                                                    10
                                                                                         Cal. Civ. Code § 1550 ................................................................................................... 11
                 A limited liability partnership formed in the State of Delaware




                                                                                    11
                                                                                         Cal. Civ. Code § 1565 ................................................................................................... 11
                                                                                    12
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                                                                                         Cal. Civ. Code § 1580 ................................................................................................... 11
                                                                                    13

                                                                                    14 Civ. Proc. Code § 337a ................................................................................................. 10

                                                                                    15 Health and Saf. Code § 1343(e)(1) ................................................................................. 9

                                                                                    16 Health and Saf. Code § 1389.3 ....................................................................................... 9

                                                                                    17
                                                                                         Other Authorities
                                                                                    18
                                                                                         1 Cal. Jur. 3d Accounts and Accounting § 33 (2017)................................................... 10
                                                                                    19

                                                                                    20

                                                                                    21

                                                                                    22

                                                                                    23

                                                                                    24

                                                                                    25

                                                                                    26

                                                                                    27

                                                                                    28

                                                                                                                                                      - vi -
                                                                                                       DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                                 AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 8 of 26 Page ID #:82



                                                                                     1                                I.     INTRODUCTION
                                                                                     2        Plaintiff NAMDY Consulting, Inc. (“NAMDY”), a collection firm, sues
                                                                                     3 Defendant UnitedHealthcare Insurance Company (“UHIC”) seeking additional

                                                                                     4 reimbursement for alleged emergency or post-stabilization medical services rendered

                                                                                     5 to UHIC’s insureds. Specifically, NAMDY concedes that UHIC paid what it

                                                                                     6 calculated is the reasonable value of the services, but contends that more is owed. To

                                                                                     7 be clear: NAMDY is not a medical provider, did not provide any of the medical

                                                                                     8 services at issue, and does not allege any contact or relationship with either UHIC or

                                                                                     9 any of the insureds. Rather, NAMDY brings this lawsuit as an alleged assignee of

                                                                                    10 accounts receivable of unnamed, non-contracted (e.g., “out-of-network”), non-party
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 physicians (“Physicians”), and seeks to recover additional reimbursement based on the

                                                                                    12 non-party Physicians’ unilaterally-set, full billed charges.
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                                                                                    13        NAMDY’s entire Complaint fails, however, for three reasons. First, NAMDY
                                                                                    14 has not pled any facts to support its alleged assignment from the unnamed Physicians.

                                                                                    15 NAMDY does not attach or quote language from the alleged assignments, does not

                                                                                    16 plead the terms or scope of the assignment, and does not even allege whether there are

                                                                                    17 multiple assignments for each provider or a universal assignment. Nor does NAMDY

                                                                                    18 identify the alleged assignors, when the assignments were effectuated, or which

                                                                                    19 alleged accounts receivable or claims for reimbursement were assigned. Rather,

                                                                                    20 NAMDY merely concludes that it is “an assignee of certain medical groups,

                                                                                    21 physicians, or health care providers” and was assigned their “right to payment.”

                                                                                    22 (Compl., ¶¶ 3-4.) But more is needed before NAMDY can assert the legal claims it

                                                                                    23 brings. Accordingly, for this reason alone, the entire Complaint is deficient and

                                                                                    24 should be dismissed.

                                                                                    25        Second, NAMDY’s entire Complaint fails because it consists of general,
                                                                                    26 conclusory allegations, and is wholly devoid of any factual support. Nowhere in the

                                                                                    27 Complaint does NAMDY identify the specific medical claims at issue, when the

                                                                                    28 alleged services were provided, to whom, the amounts of any claim, the nature of the

                                                                                                                       -1-
                                                                                                   DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                             AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 9 of 26 Page ID #:83



                                                                                     1 claims or even the precise number of claims at issue. Instead, NAMDY attempts to

                                                                                     2 base its claims on non-factual, conclusory assertions and generic conduct it attributes

                                                                                     3 to UHIC. But NAMDY’s Complaint does not put UHIC on notice of what specific

                                                                                     4 conduct or transactions are at issue, and the Complaint is therefore uncertain and

                                                                                     5 defective.

                                                                                     6        Third, NAMDY’s entire Complaint is premised on the false assumption that
                                                                                     7 UHIC has an obligation to pay the Physician based on provisions in the Knox-Keene

                                                                                     8 Act and its related regulations. UHIC, however, is an insurance company “licensed by

                                                                                     9 the Department of Insurance.” (Compl., ¶ 5.) The Knox-Keene Act does not apply to

                                                                                    10 such entities, but applies to health plans that are regulated by the Department of
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 Managed Health Care (“DMHC”). Accordingly, NAMDY’s reliance on the Knox-

                                                                                    12 Keene Act is to no avail and cannot support any of the claims asserted.
REED SMITH LLP




                                                                                    13        Additionally, each of NAMDY’s claims fail as a matter of law for other
                                                                                    14 independent reasons set forth below. NAMDY’s claims for recovery for services

                                                                                    15 rendered and quantum meruit fail, for instance, because NAMDY does not allege that

                                                                                    16 UHIC made a specific request for services or benefitted from the services, essential

                                                                                    17 elements of NAMDY’s claims. NAMDY’s claim for open book account fails because

                                                                                    18 there are no allegations of a mutual agreement to maintain a book account of credits

                                                                                    19 and debits as to any claim, nor an indebtedness of a sum certain, all of which are

                                                                                    20 essential elements of a claim for open book account.

                                                                                    21        NAMDY’s claim for breach of implied contract fails because NAMDY has not
                                                                                    22 pled any words or conduct by UHIC indicating that it agreed to pay for the services

                                                                                    23 and it certainly did not promise to pay 100% of the Physicians’ full, billed charges for

                                                                                    24 any of the purported medical services at issue. In fact, given the nature of the

                                                                                    25 services, there are even no allegations that NAMDY contacted UHIC before providing

                                                                                    26 the services. To the extent NAMDY relies on alleged authorization of services, it is

                                                                                    27 well-settled that neither the verification of eligibility nor authorization of benefits

                                                                                    28 constitutes a promise to pay. NAMDY’s failure to plead a meeting of the minds

                                                                                                                       -2-
                                                                                                   DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                             AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 10 of 26 Page ID #:84



                                                                                      1 regarding the material terms of an alleged agreement or sufficiently definite terms to

                                                                                      2 constitute an enforceable contract is fatal to its contract claim.

                                                                                      3         NAMDY’s claim for declaratory relief fails because it is not an independent
                                                                                      4 cause of action and it is duplicative of NAMDY’s other claims for relief.

                                                                                      5         Finally, NAMDY’s claim for interference fails as a matter of law because
                                                                                      6 UHIC is not a stranger to the Physicians’ economic relationship with its patients or to

                                                                                      7 UHIC’s own contracts with its insureds, which NAMDY alleges underlies UHIC’s

                                                                                      8 payment obligation. Further, NAMDY has not pled any independently wrongful

                                                                                      9 conduct to support its claim or sufficiently alleged facts showing UHIC was certain or

                                                                                     10 substantially certain that its actions would cause an interference.
                 A limited liability partnership formed in the State of Delaware




                                                                                     11         For all of these reasons, UHIC respectfully requests that the Court grant its
                                                                                     12 Motion to Dismiss.
REED SMITH LLP




                                                                                     13                           II.   FACTUAL BACKGROUND1
                                                                                     14         NAMDY is a corporation that is in the business of purchasing accounts
                                                                                     15 receivable. (Compl., ¶ 2.) UHIC is a company that transacts the business of

                                                                                     16 insurance, and is regulated by the Department of Insurance. (Compl., ¶ 5.) NAMDY

                                                                                     17 alleges that it is an “assignee” of certain unidentified, non-party Physicians who

                                                                                     18 assigned NAMDY the “right to payment and to collect” their fees from UHIC for

                                                                                     19 services rendered to UHIC’s insureds. (Compl., ¶¶ 1-4, 14.) The Physicians are “out-

                                                                                     20 of-network providers” who do not have a contract with UHIC for the payment of

                                                                                     21 services. (Compl., ¶ 14.) NAMDY has not attached a copy of any assignment, has

                                                                                     22 not pled the terms or scope of any assignment, and has not identified any specific

                                                                                     23 “account receivable” that is purportedly the subject of its alleged assignment.

                                                                                     24         Nonetheless, based on these bare-bone allegations, NAMDY brings this
                                                                                     25 Complaint alleging causes of action for: (1) recovery of payment for services

                                                                                     26
                                                                                          1 In accordance with case law, UHIC accepts the facts NAMDY recites in its
                                                                                     27 Complaint as true for purposes of this motion to dismiss. However, UHIC contests

                                                                                     28
                                                                                          many of these facts and does not accept them as true for any other purpose.

                                                                                                                         -3-
                                                                                                     DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                               AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 11 of 26 Page ID #:85



                                                                                      1 rendered; (2) recovery on open book account; (3) quantum meruit; (4) breach of

                                                                                      2 implied contract; (5) declaratory relief; (6) negligence per se; and (7) interference with

                                                                                      3 prospective economic advantage.

                                                                                      4        On February 15, 2018, counsel for the parties met and conferred telephonically
                                                                                      5 pursuant to Local Rule 7-3. See Declaration of Farah Tabibkhoei, ¶ 3. During that

                                                                                      6 conversation, counsel for NAMDY stipulated to withdraw its claim for negligence per

                                                                                      7 se. Id. Based on NAMDY’s counsel’s representations, UHIC has not addressed the

                                                                                      8 negligence per se cause of action in this motion.

                                                                                      9                                III.   LEGAL STANDARD
                                                                                     10        To survive a motion to dismiss under Rule 12(b)(6), a complaint must contain
                 A limited liability partnership formed in the State of Delaware




                                                                                     11 sufficient factual matter, accepted as true, to “state a claim to relief that is plausible on

                                                                                     12 its face.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (quoting Bell Atlantic Corp. v.
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                                                                                     13 Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the

                                                                                     14 plaintiff pleads factual content that allows the court to draw the reasonable inference

                                                                                     15 that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. It is

                                                                                     16 “plaintiff’s obligation to provide . . . more than labels and conclusions, and a

                                                                                     17 formulaic recitation of the elements of a cause of action will not do.” Twombly, 550

                                                                                     18 U.S. at 555. “Threadbare recitals of the elements of a cause of action, supported by

                                                                                     19 mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. Moreover,

                                                                                     20 federal courts are not “required to accept as true allegations that are merely

                                                                                     21 conclusory, unwarranted deductions of fact, or unreasonable inferences.” Sprewell v.

                                                                                     22 Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001).

                                                                                     23                               IV.     LEGAL ARGUMENT
                                                                                     24 A.     NAMDY’s Claims Should Be Dismissed Because NAMDY Has Not
                                                                                     25        Sufficiently Alleged A Valid Assignment Of Any Claims
                                                                                     26        NAMDY’s attempt to assert claims based on an alleged assignment fails
                                                                                     27 because NAMDY has not sufficiently pled the scope or existence of a valid

                                                                                     28 assignment. “The burden of proving an assignment falls upon the party asserting

                                                                                                                        -4-
                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 12 of 26 Page ID #:86



                                                                                      1 rights thereunder.” Neptune Society Corp. v. Longanecker, 194 Cal. App. 3d 1233,

                                                                                      2 1242 (1987). Importantly, the assignor’s intent is a key element of any assignment

                                                                                      3 and “must be clear and positive to protect the obligor . . . from any further claim by

                                                                                      4 the primary obligee.” Mission Valley East, Inc. v. County of Kern, 120 Cal. App. 3d

                                                                                      5 89, 96-97 (1981) (citing Cockerell v. Title Ins. & Trust Co., 42 Cal. 2d 284, 292

                                                                                      6 (1954)). Further, “[a]n assignment agreement must describe the subject matter of the

                                                                                      7 assignment with sufficient particularity to identify the rights assigned.” Heritage

                                                                                      8 Pacific Financial, LLC v. Monroy, 215 Cal. App. 4th 972, 988 (2013) (internal

                                                                                      9 citations omitted). “A basic tenet of California contract law dictates that when a

                                                                                     10 particular right or set of rights is defined in an assignment, additional rights not
                 A limited liability partnership formed in the State of Delaware




                                                                                     11 similarly defined or named cannot be considered part of the rights transferred.” DC3

                                                                                     12 Entertainment, LLC v. John Galt Entertainment, Inc., 412 F. Supp. 2d 1125, 1144
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                                                                                     13 (W.D. Wash. 2006).

                                                                                     14        It is well-established that the assignment of a right to property (e.g., the right to
                                                                                     15 payment) does not, by itself, effect an assignment to an ancillary cause of action that

                                                                                     16 may be related to that property. See e.g., Jasmine Networks, Inc. v. Superior Court,

                                                                                     17 180 Cal. App. 4th 980, 995 (2009) (finding it is a “central premise” that a right of

                                                                                     18 action for damage to property is distinct from the title to the property and “the transfer

                                                                                     19 of the latter does not by itself effect a transfer or diminution of the former.”); Schauer

                                                                                     20 v. Mandarin Gems of Cal., Inc., 125 Cal. App. 4th 949, 956-57 (2005) (divorce

                                                                                     21 agreement awarding diamond ring purchased by husband to wife did not automatically

                                                                                     22 transfer husband’s claim against jeweler for fraud); Williams v. Galloway, 211 Cal.

                                                                                     23 App. 2d 302, 304-06 (1962) (corporation’s sale and transfer to second corporation of

                                                                                     24 “all personal property” and all “property held on a lease hold basis” did not transfer

                                                                                     25 claim for money that original corporation had against its former lessor).

                                                                                     26        In YDM Management Co., Inc.2 v. Aetna Life Insurance Company, No. CV 15-
                                                                                     27 00897 DDP (Ex), 2016 WL 1254162, *4 (C.D. Cal. March 28, 2016), for example, the

                                                                                     28 2 UHIC believes that there may be some business or ownership relationship between

                                                                                                                        -5-
                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 13 of 26 Page ID #:87



                                                                                      1 court granted a motion to dismiss all of the plaintiff’s causes of action because the

                                                                                      2 alleged assignment attached to the complaint failed to support the allegations

                                                                                      3 regarding the scope of the assignment and the complaint failed to sufficiently allege

                                                                                      4 the contracts or claims at issue.

                                                                                      5         Here, NAMDY fails to plead the subject matter of the alleged assignment with
                                                                                      6 sufficient particularity to identify the rights assigned. NAMDY does not attach any

                                                                                      7 assignment to the Complaint for either this Court or UHIC to ascertain the scope of

                                                                                      8 the alleged assignment. NAMDY merely alleges that the Physicians “assigned their

                                                                                      9 right to payment and to collect their fees from Defendants to NAMDY” without

                                                                                     10 specifying the bundle of rights allegedly assigned or the contracts, patients,
                 A limited liability partnership formed in the State of Delaware




                                                                                     11 treatments, or dates of service (e.g., the “accounts receivable”) to which the

                                                                                     12 assignment allegedly applies. (Compl., ¶ 4.) NAMDY does not plead the terms of the
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                                                                                     13 alleged assignment, the scope, or any intent by the Physicians to assign to NAMDY

                                                                                     14 any causes of action for monies allegedly owed for services they provided. More

                                                                                     15 specific allegations are especially important here because NAMDY acknowledges that

                                                                                     16 UHIC already paid what it calculated to be the reasonable amounts for the claims, and

                                                                                     17 NAMDY is now attempting to recover more based on the Physicians’ full billed

                                                                                     18 charges. With no allegations regarding the language, nature, scope, or intent of any

                                                                                     19 alleged assignment, NAMDY’s claims, all of which arise from the assignment, should

                                                                                     20 be dismissed.

                                                                                     21 B.      NAMDY’s Complaint Fails Because It Does Not Identify Any Specific
                                                                                     22         Medical Claim At Issue.
                                                                                     23         NAMDY’s Complaint is uncertain and ambiguous because NAMDY fails to
                                                                                     24 identify any specific medical claim underlying its causes of action. NAMDY

                                                                                     25 predicates its entire action on allegations that UHIC underpaid for services rendered to

                                                                                     26
                                                                                          NAMDY and YDM and notes that in the YDM matter, like NAMDY here, plaintiff
                                                                                     27 alleged it was an assignee of “certain medical groups, physicians, or health care

                                                                                     28
                                                                                          providers.” Id. at *4.

                                                                                                                         -6-
                                                                                                     DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                               AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 14 of 26 Page ID #:88



                                                                                      1 undisclosed members by undisclosed Physicians; however, UHIC had no contractual

                                                                                      2 obligation directly to the Physicians to pay for their services or to pay a specific

                                                                                      3 amount, let alone 100% percent of the Physicians’ billed charges. Rather, the only

                                                                                      4 contracts dictating the amount due to the Physicians are the insureds’ Evidence of

                                                                                      5 Coverage (“EOC”) or Summary Plan Descriptions (“SPD”), e.g., the individual

                                                                                      6 contracts that insureds have with UHIC or plans sponsors, which provide for specific

                                                                                      7 levels of benefits for services provided by non-contracting providers—and, there are

                                                                                      8 no allegations that UHIC breached those contracts. See e.g., Casa Bella Recovery

                                                                                      9 International, Inc. v. Human Inc., SACV 17-01801 AG (JDEx); SACV 17-01804 AG

                                                                                     10 (JDEx); SACV 17-01807 AG (JDEx), 2017 WL 6030260, *3 (C.D. Cal. Nov. 27,
                 A limited liability partnership formed in the State of Delaware




                                                                                     11 2017).

                                                                                     12        Therefore, to properly apprise UHIC of the issues and specific conduct raised
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                                                                                     13 by the Complaint—to which UHIC is required to respond—NAMDY must identify

                                                                                     14 the specific medical claims at issue for each insured, and the amounts in dispute.

                                                                                     15 Without this critical information, UHIC cannot determine which insureds’ contracts

                                                                                     16 apply, or the amounts paid or purportedly owed to NAMDY. Such basic facts are

                                                                                     17 necessary not only so that the Court can evaluate whether NAMDY in fact has a

                                                                                     18 cognizable claim, but also so that UHIC may know what affirmative defenses are

                                                                                     19 appropriate to assert. See id. (requiring plaintiff to identify how many patients

                                                                                     20 treatment payments are at issue, between what dates, and terms of payments); see also

                                                                                     21 McHenry v. Renne, 84 F.3d 1172, 1180 (9th Cir. 1996) (affirming order granting

                                                                                     22 motion to dismiss and finding that a complaint “without simplicity, conciseness, and

                                                                                     23 clarity as to whom plaintiffs are suing for what wrongs, fails to perform the essential

                                                                                     24 functions of a complaint”). This is especially important here to allow UHIC to

                                                                                     25 understand whether the claims at issue are for its insured, or are subject to other plans

                                                                                     26 or self-paying employer groups. Without identifying the claims at issue, neither

                                                                                     27 UHIC, nor this Court, will be aware of whether there are other indispensable parties,

                                                                                     28 or how many. In short, UHIC cannot defend this action without being put on notice of

                                                                                                                        -7-
                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 15 of 26 Page ID #:89



                                                                                      1 the specific medical claims at issue. And it should not be required to engage in

                                                                                      2 extensive and costly discovery merely to ascertain whether NAMDY can state a claim

                                                                                      3 for relief. This is a threshold burden NAMDY must meet before it can invoke the

                                                                                      4 privilege of the courts.

                                                                                      5 C.     NAMDY’s Claims for Recovery of Payment for Services Rendered And
                                                                                      6        Quantum Meruit Fail Because NAMDY Has Not Alleged That UHIC Made
                                                                                      7        Any Specific Request For Services or Benefitted From the Services
                                                                                      8        To recover for services rendered to a third person, a plaintiff must allege a
                                                                                      9 specific request for services from the defendant. Day v. Alta Bates Med. Ctr., 98 Cal.

                                                                                     10 App. 4th 243, 248 (2002). “[C]ompensation for a party’s performance should be paid
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                                                                                     11 by the person whose request induced the performance.” Id. Thus, to a state a cause of

                                                                                     12 action for services rendered, NAMDY must allege that UHIC made a specific request
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                                                                                     13 to the Physicians for services.

                                                                                     14        Similarly, to recover in quantum meruit, the “plaintiff must establish both that
                                                                                     15 he or she was acting pursuant to either an express or implied request for such services

                                                                                     16 from the defendant and that the services rendered were intended to and did benefit the

                                                                                     17 defendant.” Day, 98 Cal. App. 4th at 248; see also Ochs v. PacifiCare of California,

                                                                                     18 115 Cal. App. 4th 782, 794 (2004) (same); Community Hospital of the Monterey

                                                                                     19 Peninsula v. Aetna Life Insurance Company, 119 F. Supp. 3d 1042, 1051-52 (N.D.

                                                                                     20 Cal. 2015) (noting that health plans do not request services); Barlow Respiratory

                                                                                     21 Hospital v. Cigna Health & Life Insurance Company, No. 2:15-CV-08411-RGK-PLA,

                                                                                     22 2016 WL 7626446, at *3 (C.D. Cal. Sept. 30, 2016) (“It is undisputed that Defendant

                                                                                     23 did not request that Plaintiff provide C.S. with medical services. Rather, C.S.

                                                                                     24 requested medical services from Plaintiff, who then contacted Defendant to verify

                                                                                     25 C.S.’s coverage eligibility. The undisputed facts thus show that Plaintiff cannot

                                                                                     26 establish the third element of its quantum meruit claim.”).

                                                                                     27        Here, NAMDY has failed to plead (as it must) that UHIC made a specific
                                                                                     28 request to the Physicians for services or that UHIC somehow benefitted from the

                                                                                                                        -8-
                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 16 of 26 Page ID #:90



                                                                                      1 services provided to its insureds. Rather, NAMDY attempts to circumvent the

                                                                                      2 elements of these claims by relying on the Knox-Keene Act, codified at California

                                                                                      3 Health and Safety Code Section 1371 et seq. to argue that under the Act, UHIC is

                                                                                      4 required to pay the usual, reasonable, and customary rate because the alleged services

                                                                                      5 at issue are for emergency or post-stabilization services. But NAMDY’s reliance on

                                                                                      6 the Knox-Keene Act and its related regulations is misplaced because UHIC is not a

                                                                                      7 health plan that is subject to these provisions. The Knox-Keene Act is a

                                                                                      8 comprehensive system of regulations that governs health care service plans under the

                                                                                      9 jurisdiction of the DMHC. See California Medical Ass’n. v. Aetna U.S. Healthcare of

                                                                                     10 California, Inc., 94 Cal App. 4th 151, 155, n.3 (2001); see also Nieto v. Blue Shield of
                 A limited liability partnership formed in the State of Delaware




                                                                                     11 California Life & Health Insurance Co., 181 Cal. App. 4th 60, 84-85 (2010)

                                                                                     12 (acknowledging that Health and Safety Code Section 1389.3 applies exclusively to
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                                                                                     13 health plans regulated by the DMHC). Similarly, Title 28 of the California Code of

                                                                                     14 Regulations, Section 1300.71 et seq., also cited by NAMDY (Compl., ¶ 47), is

                                                                                     15 comprised of regulations adopted by the DMHC, which apply to “Health Care Service

                                                                                     16 Plans.”

                                                                                     17        Neither the Knox-Keene Act nor its related regulations apply to UHIC because
                                                                                     18 it is not a health care service plan regulated by the DMHC or subject to the Knox-

                                                                                     19 Keene Act. Rather, UHIC is an insurance company that is regulated by the California

                                                                                     20 Department of Insurance and governed by the Insurance Code. See Compl., ¶ 5; see

                                                                                     21 also Health and Saf. Code § 1343(e)(1) (stating that Health and Safety Code

                                                                                     22 provisions do not apply to insurance companies).

                                                                                     23        As such, to plead claims for services rendered or quantum meruit, NAMDY
                                                                                     24 must allege facts showing that UHIC requested the services and/or benefitted from

                                                                                     25 them. Here, it has not, and cannot, allege either. Accordingly, NAMDY has failed to

                                                                                     26 state a valid claim for relief under services rendered or quantum meruit theories, and

                                                                                     27 its claims should be dismissed.

                                                                                     28

                                                                                                                        -9-
                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 17 of 26 Page ID #:91



                                                                                      1 D.     NAMDY’s Open Book Account Claim Fails Because NAMDY Has Not
                                                                                      2        Sufficiently Pled A Mutual Agreement or Indebtedness of a Sum Certain
                                                                                      3        A claim for a book account requires allegations of a debtor-creditor relationship
                                                                                      4 arising out of a contract. Civ. Proc. Code § 337a. “In deciding whether a book

                                                                                      5 account exists the court must examine the agreement, or lack of agreement, between

                                                                                      6 the parties and their conduct in the context of their commercial dealing.” Maggio,

                                                                                      7 Inc. v. Neal, 196 Cal. App. 3d 745, 752 (1987). Notably, “[t]he mere incidental

                                                                                      8 keeping of account does not alone create a book account.” Id. (citations omitted); see

                                                                                      9 also Tsemetzin v. Coast Fed. Savs. & Loan Ass’n., 57 Cal. App. 4th 1334, 1343

                                                                                     10 (1997) (rejecting plaintiff’s cause of action for open book account because he failed to
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                                                                                     11 meet three-part statutory test, the monies sought were due under a contract, and there

                                                                                     12 was no claim that defendant “ever understood or agreed that its obligations under the
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                                                                                     13 lease would or could be treated as open book items.”). Further, “to constitute an

                                                                                     14 account stated, it must appear that at the time of the statement an indebtedness from

                                                                                     15 one party to the other existed, that a balance was then struck and agreed to be the

                                                                                     16 correct sum owing from the debtor to the creditor, and that the debtor expressly or

                                                                                     17 impliedly promised to pay to the creditor the amount thus determined to be owing.”

                                                                                     18 H. Russell Taylor's Fire Prevention Serv., Inc. v. Coca Cola Bottling Corp., 99 Cal.

                                                                                     19 App. 3d 711, 726–27 ( 1979) (citing 1 Cal. Jur. 3d Accounts and Accounting § 33

                                                                                     20 (2017)) (emphasis added); Dreyer’s Grand Ice Cream v. Ice Cream Distributors of

                                                                                     21 Evansville, LLC, No. 10-00317 CW, 2010 WL 1957423 , *5 (N.D. Cal. May 14,

                                                                                     22 2010).

                                                                                     23        Here, NAMDY alleges in a conclusory fashion that the Physicians “maintained
                                                                                     24 contemporaneous, itemized and detailed records” of services provided to patients and

                                                                                     25 that UHIC “has become indebted to the Physicians on open book accounts for the

                                                                                     26 Patients, for money due in the sum to be determined at the time of trial for medical

                                                                                     27 services rendered.” (Compl., ¶¶ 53, 54.) However, the Complaint is devoid of any

                                                                                     28 facts giving rise to a mutual agreement between the parties that payment to the

                                                                                                                       - 10 -
                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 18 of 26 Page ID #:92



                                                                                      1 Physicians for the services rendered to UHIC’s insureds would be carried as an open

                                                                                      2 book account or any commercial dealings between the parties that would support such

                                                                                      3 an agreement. The Complaint also fails to allege any sum certain for which NAMDY

                                                                                      4 seeks to recover payment or the dates of any items upon which the open book account

                                                                                      5 was allegedly based. Because the mere incidental keeping of accounts does not,

                                                                                      6 without more, create a book account and NAMDY has failed to plead each element of

                                                                                      7 its open book account claim, UHIC’s motion to dismiss the open book account claim

                                                                                      8 should be granted.

                                                                                      9 E.     NAMDY’s Claim for Breach of Implied Contract Fails
                                                                                     10        To state a cause of action for breach of contract, a plaintiff must allege: (1) the
                 A limited liability partnership formed in the State of Delaware




                                                                                     11 existence of a contract and its terms; (2) plaintiff’s performance or excuse for

                                                                                     12 nonperformance; (3) breach by defendant; and (4) that the breach caused plaintiff's
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                                                                                     13 harm. See Wall St. Network, Ltd. v. New York Times Co., 164 Cal. App. 4th 1171,

                                                                                     14 1178 (2008). “A cause of action for breach of implied contract has the same elements

                                                                                     15 as does a cause of action for breach of contract, except that the promise is not

                                                                                     16 expressed in words but is implied from the promisor’s conduct.” Yari v. Producers

                                                                                     17 Guild of Am., Inc., 161 Cal. App. 4th 172, 182 (2008). Both express and implied

                                                                                     18 contracts require mutual assent “[c]ommunicated by each to the other.” Cal. Civ.

                                                                                     19 Code §§ 1550, 1565. All parties to a contract must “agree upon the same thing in the

                                                                                     20 same sense.” Cal. Civ. Code § 1580; see also Stewart v. Preston Pipeline Inc., 134

                                                                                     21 Cal. App. 4th 1565, 1586 (2005) (a valid contract must contain mutual promises).

                                                                                     22        “[T]he failure to reach a meeting of the minds on all material points prevents
                                                                                     23 the formation of a contract even though the parties have orally agreed to some terms,

                                                                                     24 or have taken some action related to the contract.” Banner Entertainment, Inc. v.

                                                                                     25 Super. Ct., 62 Cal. App. 4th 348, 359 (1998); see also Bustamante v. Intuit, Inc., 141

                                                                                     26 Cal. App. 4th 199, 215 (2006). Further, a contract is not enforceable if its terms are

                                                                                     27 too uncertain. Halvorsen v. Aramark Unif. Servs., 65 Cal. App. 4th 1383, 1389 (1998)

                                                                                     28 (“An alleged oral contract with vague and uncertain terms is not binding.”); see also

                                                                                                                       - 11 -
                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 19 of 26 Page ID #:93



                                                                                      1 Weddington Prods., Inc. v. Flick, 60 Cal. App. 4th 793, 811 (1998) (contract terms

                                                                                      2 must be certain enough to “provide a basis for determining the existence of a breach

                                                                                      3 and for giving an appropriate remedy.”).

                                                                                      4        Here, NAMDY has failed to sufficiently plead the existence of an enforceable
                                                                                      5 contract because the Complaint lacks any factual allegations that UHIC spoke any

                                                                                      6 words or engaged in any conduct indicating an agreement to pay the Physicians’ total

                                                                                      7 billed charges. The mere authorization of services is not adequate to give rise to a

                                                                                      8 contract claim. See Orthopedic Specialists of S. Cal. v. Cal. Pub. Emps. Ret. Sys., 228

                                                                                      9 Cal. App. 4th 644, 649 (2014) (finding no oral promise existed between the parties

                                                                                     10 where health plan authorized treatment and stated that the provider would be paid for
                 A limited liability partnership formed in the State of Delaware




                                                                                     11 treatment); Tenet Healthsystem Desert, Inc. v. Fortis Ins. Co., Inc., 520 F. Supp. 2d

                                                                                     12 1184, 1193 (C.D. Cal. 2007) (authorization of treatment did not constitute an
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                                                                                     13 agreement to pay Plaintiff’s expenses); Cedars Sinai Med. Ctr. v. Mid-West Nat. Life

                                                                                     14 Ins. Co., 118 F. Supp. 2d 1002, 1008 (C.D. Cal. 2000) (“within the medical insurance

                                                                                     15 industry, an insurer’s verification is not the same as a promise to pay”).

                                                                                     16        Indeed, it is well settled that neither a verification of eligibility nor
                                                                                     17 authorization of benefits constitutes a promise to pay. See, e.g., Tenet Healthsystem

                                                                                     18 Desert, Inc., 520 F. Supp. 2d at 1192-93; Cedars Sinai Med. Ctr., 118 F. Supp. 2d at

                                                                                     19 1008 (a “verification cannot objectively be interpreted as consent to contract” because

                                                                                     20 “within the medical insurance industry, an insurer’s verification is not the same as a

                                                                                     21 promise to pay”). “Pre-authorization and verification of benefits . . . [are not] an

                                                                                     22 agreement to pay or a guarantee to pay for medical services provided to an insured.”

                                                                                     23 Tenet Healthsystem Desert, Inc., 520 F. Supp. 2d at 1193; Stanford Hosp. and Clinics

                                                                                     24 v. Multinational Underwriters, Inc., No. C-07-05497 JF (RS), 2008 WL 5221071, at

                                                                                     25 *6 (N.D. Cal. Dec. 12, 2008) (rejecting the argument that a “verification of coverage

                                                                                     26 amounted to a promise to pay for the patient’s treatment”); see also Orthopedic

                                                                                     27 Specialists of S. Cal., 228 Cal. App. 4th at 649 (payment for nonemergency services is

                                                                                     28 governed by the Evidence of Coverage and no oral promise existed where health plan

                                                                                                                       - 12 -
                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 20 of 26 Page ID #:94



                                                                                      1 authorized treatment and stated provider would be paid for the treatment).

                                                                                      2        Here, all of the allegations of any interaction between the Physicians and UHIC
                                                                                      3 are limited to the authorization context. (Compl., ¶¶ 17-18.) Moreover, bare

                                                                                      4 allegations that UHIC somehow agreed to pay the Physicians’ unilaterally-set,

                                                                                      5 undisclosed total billed charges would not support a contract claim. Indeed, such a

                                                                                      6 contract, where one side has the unilateral discretion to set the price points at any level

                                                                                      7 is illusory and is not sufficiently certain to be enforced because it does not provide

                                                                                      8 UHIC any basis for determining the specific financial obligation supposedly agreed to

                                                                                      9 by the parties. See, e.g., Cal. Lettuce Growers v. Union Sugar Co., 45 Cal. 2d 474,

                                                                                     10 481 (1955) (“Where a contract is so uncertain and indefinite that the intention of the
                 A limited liability partnership formed in the State of Delaware




                                                                                     11 parties in material particulars cannot be ascertained, the contract is void and

                                                                                     12 unenforceable”); Bustamante, 141 Cal. App. 4th at 209; Lindsay v. Lewandowski, 139
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                                                                                     13 Cal. App. 4th 1618, 1622 (2006) (finding that a “contract is unenforceable if the

                                                                                     14 parties fail to agree on a material term or if a material term is not reasonably

                                                                                     15 certain.”); Money Store Inv. Corp. v. S. California Bank, 98 Cal. App. 4th 722, 728

                                                                                     16 (2002) (finding that an agreement is illusory and lacks mutuality where one party has

                                                                                     17 no definite obligation to perform under the agreement).

                                                                                     18        Further, NAMDY fails to allege that the parties ever agreed on, much less
                                                                                     19 discussed, a material term of the alleged implied contract—price. See Levin v. Knight,

                                                                                     20 780 F.2d 786, 787 (9th Cir. 1986)(stating that price is one of a few contract terms

                                                                                     21 deemed essential as a matter of law); see also Grant v. Aurora Loan Servs., Inc., 736

                                                                                     22 F. Supp. 2d 1257, 1266-67 (C.D. Cal. 2010) (stating that if an essential term of a

                                                                                     23 promise is left to the future agreement of the parties, the promise gives rise to no legal

                                                                                     24 obligation until such future agreement is made); Krasley v. Superior Court of San

                                                                                     25 Diego County, 101 Cal. App. 3d 425, 432 (1980) (“meeting of minds on the essential

                                                                                     26 features of the agreement” is required for an enforceable contract to exist); Lawrence

                                                                                     27 Block Co. v. Palston, 123 Cal. App. 2d 300, 308 (1954) (same). There is no allegation

                                                                                     28 that the Physicians and UHIC ever discussed or agreed on the amount of the

                                                                                                                       - 13 -
                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 21 of 26 Page ID #:95



                                                                                      1 Physicians’ total billed charges for the medical services rendered.

                                                                                      2        Without specific allegations of fact giving rise to an implied contract, a meeting
                                                                                      3 of the minds as to all material terms, and sufficiently definite terms, there can be no

                                                                                      4 contract between the Physicians and UHIC as a matter of law. Accordingly, this

                                                                                      5 Court should grant UHIC’s motion to dismiss NAMDY’s breach of implied contract

                                                                                      6 claim with prejudice.

                                                                                      7 F.     NAMDY’s Claim for Declaratory Relief Fails Because It Is Not An
                                                                                      8        Independent Cause Of Action And It Is Duplicative Of NAMDY’s Other
                                                                                      9        Claims
                                                                                     10        To be entitled to declaratory relief, NAMDY must establish an “actual
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                                                                                     11 controversy relating to the legal rights and duties of the respective parties.” City of

                                                                                     12 Cotati v. Cashman, 29 Cal. 4th 69, 79 (2002) (emphasis omitted) (the “fundamental
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                                                                                     13 basis of declaratory relief is the existence of an actual, present controversy over a

                                                                                     14 proper subject”). Declaratory relief is proper only where there exists an “actual

                                                                                     15 controversy” relating to the legal rights and duties of the parties. See Compass Bank

                                                                                     16 v. Petersen, 886 F. Supp. 2d 1186, 1195-96 (C.D. Cal. 2012).

                                                                                     17        Moreover, declaratory relief is an equitable remedy, not a cause of action, and
                                                                                     18 courts have discretion to dismiss the request where other claims provide for similar,

                                                                                     19 effective relief. See Guilbert v. Regents of University of California, 93 Cal. App. 3d

                                                                                     20 233, 244-45 (1979); see also Hood v. Superior Court, 33 Cal. App. 4th 319, 324

                                                                                     21 (1995) (declaratory relief is not intended ‘to furnish a litigant with a second cause of

                                                                                     22 action for the determination of identical issues” raised in the main action.); Ratcliff

                                                                                     23 Architects v. Vanir Constr. Mgmt., Inc., 88 Cal. App. 4th 595, 607 (2001) (dismissing

                                                                                     24 declaratory relief cause of action because it depended on other causes of action, which

                                                                                     25 failed to state a claim against defendants). Here, NAMDY’s declaratory relief claim,

                                                                                     26 which seeks a determination that UHIC is required to pay the Physicians’ “billed or

                                                                                     27 total rates charged by the Physicians” is duplicative of NAMDY’s other causes of

                                                                                     28 action and should therefore be dismissed. (Compl., ¶ 74.)

                                                                                                                       - 14 -
                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 22 of 26 Page ID #:96



                                                                                      1        For these reasons, the Court should dismiss NAMDY’s declaratory relief claim.
                                                                                      2 G.     NAMDY’s Interference Claim Fails Because UHIC Is Not A Stranger To
                                                                                      3        The Economic Relationship Between the Physicians And Their Patients
                                                                                      4        And NAMDY Has Not Sufficiently Pled Facts to Satisfy Each Element of
                                                                                      5        This Claim
                                                                                      6        To state a claim for intentional interference with prospective economic
                                                                                      7 advantage, the plaintiff must prove “(1) an economic relationship between the plaintiff

                                                                                      8 and some third person containing the probability of future economic benefit to the

                                                                                      9 plaintiff; (2) knowledge by the defendant of the existence of the relationship;

                                                                                     10 (3) intentional acts on the part of the defendant designed to disrupt the relationship;
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                                                                                     11 (4) actual disruption of the relationship; and (5) damages to the plaintiff proximately

                                                                                     12 caused by the acts of the defendant.” Silicon Labs Integration, Inc. v. Melman, No.
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                                                                                     13 C-08-04030-RMW, 2010 WL 890140, at *2 (N.D. Cal. March 8, 2010) (citing

                                                                                     14 Rickards v. Canine Eye Registration Foundation, Inc., 704 F.2d 1149, 1456 (9th Cir.

                                                                                     15 1983)).

                                                                                     16        NAMDY’s interference claim fails a matter of law because California has long
                                                                                     17 recognized that the core of intentional interference claims is the protection of the

                                                                                     18 contractual or prospective relationship between parties from outside interference by a

                                                                                     19 third-party stranger to that relationship. See Della Penna v. Toyota Motor Sales

                                                                                     20 U.S.A., Inc., 11 Cal. 4th 376, 381-386 (1995); Imperial Ice v. Rossier, 18 Cal. 2d 33

                                                                                     21 (1941). “It has long been held that a stranger to a contract may be liable in tort for

                                                                                     22 intentionally interfering with the performance of the contract.” Pac. Gas & Elec. Co.

                                                                                     23 v. Bear Stearns & Co., 50 Cal. 3d 1118, 1126 (1990); see also Signal Hill Service, Inc.

                                                                                     24 v. Macquarie Bank Ltd., No. CV 11-1539 MMM (JEMx), 2013 WL 12244056, at *36

                                                                                     25 (C.D. Cal. June 12, 2013) (“Thus, ‘[t]he tort duty not to interfere with the contract

                                                                                     26 falls only on strangers-interlopers who have no legitimate interest in the scope or

                                                                                     27 course of the contract’s performance.’”) (citing Applied Equipment Corp., v. Litton

                                                                                     28 Saudi Arabia Ltd., 7 Cal. 4th 503, 514 (1994)).

                                                                                                                       - 15 -
                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 23 of 26 Page ID #:97



                                                                                      1        In a similar vein, the law is clear that an entity with a direct interest or
                                                                                      2 involvement in that contractual relationship is not liable for harm caused by

                                                                                      3 compliance with its contractual obligations. See Nat'l Rural Telcoms. Coop. v.

                                                                                      4 DIRECTV, Inc., 319 F. Supp. 2d 1059, 1069-75 (2002) (quoting Applied Equip. Corp.

                                                                                      5 v. Litton Saudi Arabia Ltd., supra, 7 Cal. 4th at 514 (finding an entity with a direct

                                                                                      6 interest or involvement in a relationship is not liable for harm caused by pursuit of its

                                                                                      7 interests).

                                                                                      8        Indeed, to prevail on an intentional interference claim, a plaintiff must establish,
                                                                                      9 among other things, that the defendant engaged in independently wrongful conduct.

                                                                                     10 Della Penna v. Toyota Motor Sales, U.S.A., Inc., 11 Cal. 4th at 393 (requiring a
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                                                                                     11 showing that defendant “engaged in conduct that was wrongful by some legal measure

                                                                                     12 other than the fact of interference itself.”); see also Crown Imps., LLC v. Superior
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                                                                                     13 Court, 223 Cal. App. 4th 1395, 1400 (2014) (holding the torts of interference require

                                                                                     14 the act of interference to have been independently wrongful). “[A]n act is

                                                                                     15 independently wrongful if it is unlawful, that is, if it is proscribed by some

                                                                                     16 constitutional, statutory, regulatory, common law, or other determinable legal standard

                                                                                     17 . . . rather than merely a product of improper, but lawful purpose or motive.” San Jose

                                                                                     18 Contr., Inc. v. S.B.C.C., Inc., 155 Cal. App. 4th 1528, 1544-45 (2007) (emphasis

                                                                                     19 added).

                                                                                     20        In Mintz v. Blue Cross of California, 172 Cal. App. 4th 1594 (2009), the Second
                                                                                     21 District Court of Appeal expressly held that a third-party administrator “may not be

                                                                                     22 held liable for the tort of interfering with its principle’s contract.” Id. at 1598. In that

                                                                                     23 case, the defendant acted as the third-party administrator for the Mintz’s health care

                                                                                     24 plan. Mintz alleged that the defendant interfered with his contract with the health plan

                                                                                     25 by failing to inform him of his right to have a denial of benefits determination

                                                                                     26 reviewed by an independent external review. Analyzing Mintz’s interference claim,

                                                                                     27 the court held that while Mintz alleged the “literal” elements of the claim, his claim

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                                                                                                                       - 16 -
                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 24 of 26 Page ID #:98



                                                                                      1 failed as a matter of law because, as a third-party administrator, the defendant was not

                                                                                      2 a stranger to the contract. Id. at 1603-05.

                                                                                      3        Here, UHIC is directly interested and involved in its insureds’ obligation to pay
                                                                                      4 for services rendered by the Physicians and has a contractual duty to communicate the

                                                                                      5 level of benefits afforded to the insureds under their health plans with UHIC. Indeed,

                                                                                      6 NAMDY and the Physicians bring UHIC to this arrangement by submitting claims to

                                                                                      7 UHIC for payment of services provided to the patients. That is, NAMDY and the

                                                                                      8 Physicians ask UHIC to discharge a portion of the insureds’ contractual obligation to

                                                                                      9 the Physicians because UHIC has a separate contract with the insured. That NAMDY

                                                                                     10 subsequently disagrees with UHIC’s payment determination under the insureds’
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                                                                                     11 contracts does not support a claim that UHIC somehow interfered with the Physicians’

                                                                                     12 economic relationship with the patients. Indeed, the Physicians, like all non-
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                                                                                     13 participating providers, are free to bill patients directly for the services; they do not

                                                                                     14 have to bill the health insurance company. But, in so doing, the Physicians cannot

                                                                                     15 then also allege that the health plan, here UHIC, somehow interfered with the

                                                                                     16 relationship because it paid an amount the provider did not like. However NAMDY

                                                                                     17 attempts to frame its claim, under no circumstances can UHIC be considered a

                                                                                     18 “stranger” to this relationship—a prerequisite for pleading an intentional interference

                                                                                     19 claim. UHIC has legitimate, direct interests and involvement in the scope and course

                                                                                     20 of the performance of its insureds’ alleged contracts with the Physicians to pay

                                                                                     21 deductibles and coinsurance.

                                                                                     22        To the extent NAMDY contends that UHIC’s communication with its insureds
                                                                                     23 about pricing, co-insurance, and deductibles and its issuance of Explanations of

                                                                                     24 Benefits somehow supports an interference claim, such a notion is likewise without

                                                                                     25 merit. (Compl., ¶ 84.) The concepts of “co-insurance” and “deductible” are

                                                                                     26 necessarily determined by reference to a patient’s health plan. As such, when UHIC

                                                                                     27 determines these amounts, it does so based on its own contract with the insured. That

                                                                                     28 NAMDY believes these amounts do not reflect the usual, customary, and reasonable

                                                                                                                       - 17 -
                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 25 of 26 Page ID #:99



                                                                                      1 values does not make UHIC’s pricing determination, based on its contract with its

                                                                                      2 insureds, independently wrongful conduct to support an interference claim.

                                                                                      3 Permitting NAMDY to impose liability on UHIC because it complied with its separate

                                                                                      4 contractual obligations to inform its insureds of the adjudication of claims would lead

                                                                                      5 to an absurd result of requiring UHIC to breach its own contract by refraining from

                                                                                      6 communicating with its insureds.

                                                                                      7        Further, to adequately plead a cause of action for intentional inference with
                                                                                      8 prospective economic advantage, a plaintiff must satisfy the specific intent

                                                                                      9 requirement by alleging with sufficient factual detail that the “defendant acted with

                                                                                     10 the specific intent, or purpose, of disrupting” the plaintiff’s relationship or,
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                                                                                     11 alternatively, that “the defendant knew that the interference was certain or

                                                                                     12 substantially certain to occur as a result of its action.” Korea Supply Co. v. Lockheed
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                                                                                     13 Martin Corp., 29 Cal. 4th 1134, 1153-55 (2003). Here, NAMDY has not pled facts

                                                                                     14 sufficient to satisfy the intent requirement because there are no factual allegations

                                                                                     15 showing UHIC acted with the specific intent to disturb the relationship between the

                                                                                     16 Physicians and their patients or that UHIC knew or was substantially certain that its

                                                                                     17 actions would disrupt the relationship between the Physicians and patients. The

                                                                                     18 conclusory allegations that UHIC “acted wrongfully” by determining the rates to be

                                                                                     19 paid for each service and informing patients, thus somehow altering the Physicians’

                                                                                     20 economic relationship with patients by causing patients to pay less monies to the

                                                                                     21 Physicians, are not sufficient to plead the requisite element of intent. Compl., ¶¶ 86-

                                                                                     22 88. There are no factual allegations that UHIC knew, with certainty or substantial

                                                                                     23 certainty, that the mere act of adjudicating the claims the Physicians submitted to

                                                                                     24 UHIC pursuant to the insureds’ plans and communicating the level of benefits

                                                                                     25 available to insureds, would disrupt the Physicians’ prospective economic advantage

                                                                                     26 or that their economic relationship with their patients was in fact disrupted. For all of

                                                                                     27 these reasons, UHIC’s motion to dismiss NAMDY’s claim for interference with

                                                                                     28 prospective economic advantage should be granted.

                                                                                                                       - 18 -
                                                                                                    DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                              AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
                                                        Case 2:18-cv-01283-RSWL-KS Document 7-1 Filed 03/26/18 Page 26 of 26 Page ID #:100



                                                                                    1                                V.    CONCLUSION
                                                                                    2       For the foregoing reasons, UHIC respectfully requests that the Court grant its
                                                                                    3 motion to dismiss with prejudice.

                                                                                    4

                                                                                    5 DATED: March 26, 2018                 REED SMITH LLP
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                                                                                    7                                       By      /s/ Sarah B. Johansen
                                                                                                                                 Amir Shlesinger
                                                                                    8                                            Farah Tabibkhoei
                                                                                                                                 Sarah B. Johansen
                                                                                    9                                            Attorneys for Defendant
                                                                                                                                 UnitedHealthcare Insurance Company
                                                                                   10
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                                                                                                                     - 19 -
                                                                                                  DEFENDANT’S MEMORANDUM OF POINTS AND
                                                                                            AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COMPLAINT
